                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

JANE DOE,                                    §
     Plaintiff,                              §
                                             §
vs.                                          §      CIVIL ACTION NO.: 5:21-CV-00369-XR
                                             §
                                             §
KERRVILLE INDEPENDENT                        §
SCHOOL DISTRICT,                             §
    Defendant.                               §


         DEFENDANT KERRVILLE INDEPENDENT SCHOOL DISTRICT’S
      MOTION TO EXCLUDE EXPERT TESTIMONY OF CHAROL SHAKESHAFT

       NOW COMES Defendant Kerrville Independent School District and files this, its Motion

to Exclude Expert Testimony of Charol Shakeshaft and respectfully shows as follows:

                          I. PERTINENT PROCEDURAL HISTORY

1.     Plaintiff filed her Complaint April 12, 2021, asserting Title IX and constitutional claims

based on alleged sexual harassment by former District employees Christopher Edwards and

Aaron Chatagnier. See Dkt. No. 1. Plaintiff submitted her Expert Designations Disclosure and

Dr. Charol Shakeshaft was among the experts listed and was designated to testify “regarding

Defendant’s policies, practices, and customs were sexually discriminating and constituted a

deprivation of the right to equal protection of victims of sexual harassment, abuse, and

retaliation” and “that discrimination against female students was the motivating factor.” Ex. A-1,

p. 11. Plaintiff served Shakeshaft’s expert report and curriculum vitae, portions of which are

attached as Exhibit A-1. Pursuant to the Court’s text order of May 22, 2023, Defendant herein

timely objects and moves to exclude the proposed expert testimony of Dr. Charol Shakeshaft.
                                 II. STANDARD OF REVIEW

2.     Federal Rule of Evidence 702 provides: “If scientific, technical, or other specialized

knowledge will assist the trier of fact to understand the evidence or to determine a fact in issue, a

witness qualified as an expert by knowledge, skill, experience, training, or education may testify

thereto in the form of an opinion or otherwise if (1) the testimony is based upon sufficient facts

or data, (2) the testimony is the product of reliable principles and methods, and (3) the witness

has applied the principles and methods reliably to the facts of the case.” FED. R. EVID. 702; See

Kumho Tire Co. v. Carmichael, 526 U.S. 137, 119 S. Ct. 1167 (1999); Daubert v. Merrell Dow

Pharms., Inc., 509 U.S. 579, 113 S. Ct. 2786 (1993). The trial judge must “ensure that any and

all [expert] testimony or evidence admitted is not only relevant, but reliable.” Daubert, 509 U.S.

at 589; Kumho Tire, 526 U.S. at 141 (Court explained that “‘gatekeeping’ obligation applies not

only to testimony based on ‘scientific’ knowledge, but also to testimony based on ‘technical’ and

‘other specialized’ knowledge’”).

3.     In determining the reliability of expert testimony, a court should look at the following,

non-exclusive factors: (1) whether a theory or technique can be and has been tested; (2) whether

the theory or technique has been subjected to peer review and publication; (3) the known or

potential rate of error of a technique or theory; and (4) the general acceptance of the theory or

technique. Kumho Tire, 526 U.S. at 141; Daubert, 509 U.S. at 593-94. The overarching inquiry

envisioned by Rule 702 is the validity - and thus the evidentiary relevance and reliability - of the

principles that underlie a proposed submission. Daubert, 509 U.S. at 594-95. The burden is on

the party offering the expert testimony to establish that it is admissible. Moore v. Ashland

Chemical, Inc., 151 F.3d 269, 276 (5th Cir. 1998). The proposed testimony and expert report of


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Plaintiff’s expert, Dr. Charol Shakeshaft do not meet the standards for admissibility under Rule

702 or Daubert. Defendant, therefore, requests that the Court strike her expert report and exclude

her proposed expert testimony.

                            III. ARGUMENT AND AUTHORITIES

     A. Shakeshaft’s Proposed Testimony Is Not Required To Assist The Jury

4.      Shakeshaft has been designated by Plaintiff to offer testimony as to Title IX and Section

1983 liability and “the official policies, the District’s widespread practices and customs, and

decisions made by authorized officials/policymakers were the moving force behind violations of

Doe’s constitutional rights by virtue of being unconstitutional and/or being adopted with

deliberate indifference to the known or obvious fact that constitutional violations like those at

issue in this case would result.” Ex. A-1, p. 11. At the outset, Plaintiff cannot demonstrate that

there is any recognized field of “expertise” in such areas sufficient to warrant admission of

Shakeshaft’s conclusions under Rule 702. This case does not involve any issue in the liability

phase requiring the kind of “scientific, technical, or specialized knowledge” contemplated by

Rule 702.1 See, Garcia v. Navasota Indep. Sch. Dist., H-09-3892, 2011 WL 335253, at *6 (S.D.

Tex. Jan.31, 2011) (excluding expert testimony on Title IX liability and stating: “If an expert’s

statement offers no more than what a lawyer could offer in argument, it should be excluded.”).

5.      Shakeshaft’s proposed testimony consists largely of legal conclusions on ultimate issues

drawn by applying the law to the facts that invade the province of the Court and the jury by

trying to explain the legal standards applicable to this case (albeit inaccurately) and how the

District purportedly failed to meet those standards. Expert witnesses may testify about ultimate


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 In an abundance of caution, Defendant has retained their own rebuttal expert, Dr. David P. Thompson,
Ph. D., to address the same standards Shakeshaft intends to address.
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issues of fact, but an expert may not state legal conclusions drawn by applying the law to the

facts. United States v. Richter, 796 F.3d 1173, 1195 (10th Cir. 2015). Plaintiff’s proffer Dr.

Shakeshaft for exactly this improper purpose. To wit, “Dr. Shakeshaft will further provide

testimony regarding the applicable laws, regulations, guidance, and requirements relating to Title

IX, the civil rights law enacted in 1972 that prohibits sex discrimination in education.” Ex. A-1,

p. 11. “Dr. Shakeshaft is expected to testify regarding…Defendant’s actual notice of Edwards’

and Chatagnier’s sexual abuse and deliberate indifference to same.” Ex. A-1, p. 12. Dr.

Shakeshaft is expected to testify that Defendant “created a hostile educational environment and

subjected Doe to additional sexual harassment, depriving her of educational benefits.” Ex. A-1,

p. 14. This type of testimony has been deemed inadmissible in similar cases and should,

likewise, be excluded in the case at bar. Garcia v. Navasota Indep. Sch. Dist., H-09-3892, 2011

WL 335253, at *6; Doe v. Northside I.S.D., 884 F.Supp.2d 485, 495 (W.D. Tex. 2012) (finding

similar expert testimony inadmissible in a substantially similar educator/student sexual

harassment suit); Salas v. Carpenter, 980 F.2d 229, 304-305 (5th Cir. 1991) (concluding that an

expert in the field of hostage negotiation cannot offer opinion testimony on whether the

defendant exhibited “deliberate indifference or conscious disregard” for the safety of the victim);

see also, Iacangelo v. Georgetown University, 560 F.Supp.2d 53 (D.C. 2008) (expert reports

contained impermissible opinions and legal conclusions regarding a statutory “standard of

care.”). Because Shakeshaft’s testimony is both unreliable and unnecessary, it should be

excluded.




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     B. Shakeshaft Lacks Expertise For Her Designated Subject Matter

6.      Even if this case did require expert testimony on Title IX or Section 1983 liability, which

Defendant denies, Shakeshaft is not qualified to testify about legal standards or the

reasonableness of school officials’ actions under Title IX or Section 1983. According to

Shakeshaft’s curriculum vitae, she is currently a university professor, charging $400 per hour to

offer expert testimony. Ex. A-1, pp. 77-78. Shakeshaft’s resume, however, does not indicate any

experience in K-12 school administration. Ex. A-1, pp. 24-25. In fact, she has no experience in

the day-to-day operations of a school campus or a school district, and she has no experience as a

public school teacher, principal or assistant principal, administrator, nor any experience working

in human resources in a public school setting nor any service as a school board member. Id.

Plaintiff has not shown that Shakeshaft is qualified to opine about Title IX or Section 1983

liability and her lack of experience demonstrates her inability to render opinions on the

conclusions contained in her expert report offered to support Plaintiff’s claims.

     C. Shakeshaft’s Conclusory Opinions Are Not Based On Any Reliable Methodology

7.      Additionally, Shakeshaft’s expert report does not outline the methodology she used to

form her opinions. “To establish reliability under Daubert, an expert bears the burden of

furnishing ‘some objective, independent validation of [his] methodology.’” Brown v. Ill. Cent.

R.R. Co., 705 F.3d 531, 536 (5th Cir. 2013) (quoting Moore v. Ashland Chem. Inc., 151 F.3d 269,

276 (5th Cir. 1998)). “The expert’s assurance that he has utilized generally accepted [principles]

is insufficient.” Id. (quoting Moore, 151 F.3d at 276). “Courts must be arbiters of truth, not junk

science and guesswork.” Huss v. Gayden, 571 F.3d 442, 459 (5th Cir. 2009).




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8.     Where the challenged opinion “is fundamentally unsupported, then it offers no expert

assistance to the jury.” Guile v. U.S., 422 F.3d 221, 227 (5th Cir. 2005) (quoting Viterbo v. Dow

Chem. Co., 826 F.2d 420, 422 (5th Cir. 1987)). To be admissible, an expert’s opinion must be

based upon sufficient facts and data, supporting the opinions. FED. R. EVID. 702; see Burleson v.

Texas Dept. Of Criminal Justice, 393 F.3d 577 (5th Cir. 2004). A court may rightfully exclude

expert testimony where a court finds that an expert has extrapolated data, and there is “too great

an analytical gap between the data and the opinion proffered.” Id.; see also Moore v. Ashland

Chem., Inc., 151 F.3d 269, 279 (5th Cir. 1998) (en banc). Expert opinion is also properly

excluded when it is based on speculation, guesswork, and conjecture. Burleson, 393 F.3d at 587.

9.     In addition to her lack of experience in the subject matter, Shakeshaft’s expert opinions

are not based upon sufficient facts or data, or a sufficient understanding of the legal theories and

opinions rendered. Rule 702 further requires that expert testimony is relevant. One aspect of

relevance is that the opinions have a sufficient factual basis and a reliable application of the

methodology to the facts. Daubert, 509 U.S. at 591. Shakeshaft variously asserts that the District

failed to meet “guidelines” and “professional standards” and “recommendations” suggested by

various federal agencies and organizations serving children. Ex. A-1, p. 89, 153, 153 n.435, 193.

Here, Shakeshaft’s report acts to mislead the fact-finder by citing to a plethora of guidelines and

professional standards which are irrelevant to the legal obligations developed by the Supreme

Court and the Fifth Circuit in Gebser and its progeny. While Shakeshaft variously concludes that

the District breached “professional standards of care,” the professional standards of care or

“industry standards” are not synonymous with Title IX and Section 1983 legal standards and




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such testimony regarding guidelines or best practices is irrelevant at best and highly misleading

at worst.

10.    The well-established standard under Title IX for employee and student sexual abuse is

that (1) a school district employee with supervisory power over the offending teacher (2) had

actual notice of the harassment and (3) responded with deliberate indifference. Gebser v. Lago

Vista Indep. Sch. Dist., 524 U.S. 274, 290 (1998). Shakeshaft, however, erroneously employs a

constructive notice standard for Title IX liability, stating in her report: “KISD’s response to

critical events and red flags was inadequate for preventing Jane Doe’s harassment” Ex. A-1, p.

194. The United States Supreme Court summarily rejected such a standard for Title IX liability.

Gebser, 524 U.S. at 285

11.    The Court should not accept Shakeshaft’s opinions supporting Plaintiff’s Title IX and

Section 1983 claims that continuously draw legal conclusions by applying the law to the facts,

especially where she consistently conflates guidelines or best practices with the actual relevant

legal standards applicable in this case. Expert testimony is admissible only if it is both relevant

and reliable. Pipitone v. Biomatrix, 288 F.3d 239, 244-45 (5th Cir. 2002). The district court’s

responsibility is “to make certain that an expert, whether basing testimony upon professional

studies or personal experience, employs in the courtroom the same level of intellectual rigor that

characterizes the practice of an expert in the relevant field.” Kumho Tire Co., 526 U.S. at 152.

“An expert’s self-proclaimed accuracy is insufficient.” Garcia v. Navasota Indep. Sch. Dist., H-

09-3892, 2011 WL 335253, at *6 (citing Kumho Tire Co., 526 U.S. at 157).

17.    Because Shakeshaft’s report and proffered testimony obfuscates the difference between

purported professional standards and actual legal standards upon which the District’s actions will


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be judged, her opinions will only serve to confuse and mislead the jury, making her testimony

inadmissible under Federal Rule of Evidence 403. Plaintiff, therefore, cannot meet her burden to

prove that the requirements of Federal Rule of Evidence 702 are satisfied. Because Shakeshaft’s

report and conclusions are premised upon conflation of industry best practices with actual legal

standards and are wholly unsupported and conclusory, they are unreliable, improper, and should

be excluded.

                                     III. CONCLUSION

       Plaintiff cannot satisfy her burden to prove by a preponderance of the evidence that

Shakeshaft’s opinions are admissible under Federal Rule of Evidence 702 and the principles

articulated in Daubert, Kumho Tire, and their progeny. As a whole, Shakeshaft’s opinions lack a

reliable foundation and are irrelevant, misleading and improperly state legal conclusions drawn

by applying the law to the facts. Defendant, therefore, requests the Court grant its motion to

exclude, and strike Plaintiff’s designated expert, Dr. Charol Shakeshaft and her report and

opinions from this case.

                                            Respectfully Submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 9, 2023, the foregoing was electronically filed with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to the
following:

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